                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                             Case No. 12-CR-154

MARCO MAGANA and MANUEL MENDOZA,

                       Defendant.


     ORDER ADOPTING RECOMMENDATION OF MAGISTRATE JUDGE AND
                   DENYING MOTION TO SUPPRESS


       This matter is before the Court on the motions of defendants Marco Magana and Manuel

Mendoza to suppress evidence of marijuana grow operations that was obtained through surveillance

cameras that were installed on private property. The magistrate judge recommended denial of the

motions on the ground that the cameras were installed outside of the curtilage and, therefore, in an

area that would not have Fourth Amendment protection. See Oliver v. United States, 466 U.S. 170,

176 (1984).

       Neither defendant has filed an objection to the magistrate judge’s recommendation that the

motion be denied. Having reviewed the recommendation, and considering the arguments to

counsel, I conclude that the magistrate judge’s analysis is correct. Accordingly, the defendants’

motion to suppress is denied.

       SO ORDERED this              29th   day of October, 2012.

                                                        s/ William C. Griesbach
                                                       William C. Griesbach
                                                       United States District Judge



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